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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


JAC’QUANN (ADMIRE) HARVARD,
et al.,

      Plaintiffs,

vs.                                           Case No. 4:19cv212-MW-MAF

MARK S. INCH, and the FLORIDA
DEPARTMENT OF CORRECTIONS,

     Defendants.
_______________________________/


                                 ORDER

      An evidentiary hearing has been scheduled for the week of January

11-15, 2021, to consider Plaintiffs’ motion for a protective order, ECF No.

183. See ECF No. 204. Despite the fact that the prior Order, ECF No. 204

at 12, required the filing of a motion for a writ to secure the appearance of

any inmates “no later than January 6, 2021,” the motion was filed today.

The motion is, nevertheless, a joint motion and requests that the witnesses

identified, and the putative class members “be transported to a room in the

respective prisons where they can provide testimony over video to the

Court at the evidentiary hearing in this matter.” ECF No. 214 at 3-4. To
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ensure the witnesses will be able to provide testimony, and this Court is

fully advised of all relevant facts, the motion is granted. The writ will be

separately issued to cover all witnesses and the Plaintiffs’ listed.

      Additionally, Plaintiffs were granted leave to file a reply to

Defendants’ response. ECF Nos. 203, 210. Plaintiffs have since advised

that they withdraw the motion for leave to file the reply. The notice, ECF

No. 211, is noted.

      Additionally, two notices have been filed by Plaintiffs, ECF Nos. 212-

213, advising that they withdraw two declarations previously submitted

(inmates Mack Simmons and Simone Littles), and will not call them to

testify at the hearing. Defendants, however, advise that they might call

them to testify. ECF No. 214 at 1, n.1. Those inmates will be included in

the writ.

      Accordingly, it is

      ORDERED:

      1. The joint motion for issuance of writs of habeas corpus ad

testificandum, ECF No. 214, is GRANTED.

      2. Ruling on Plaintiffs’ motion for a protective order, ECF No. 183,

remains DEFERRED.

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     3. Should the parties agree to a stipulation prohibiting retaliation

which moots Plaintiffs’ motion, ECF No. 183, an appropriate notice must be

immediately filed.

     DONE AND ORDERED on January 7, 2021.


                                  S/ Martin A. Fitzpatrick
                                  MARTIN A. FITZPATRICK
                                  UNITED STATES MAGISTRATE JUDGE




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